Case 3:20-cv-04423-JD Document 248-19 Filed 02/13/23 Page 1 of 3




         EXHIBIT 59
2/8/23, 10:54 PM      Case 3:20-cv-04423-JD    Document
                                       Requirements            248-19
                                                    for copyright            Filed
                                                                  infringement        02/13/23
                                                                               notifications:          Page 2Help
                                                                                              Videos - YouTube of 3


      Requirements for copyright infringement notifications:
      Videos
              Tip: The easiest way to request a removal of a video you believe infringes on your copyright is by using
              our webform .

              To request the removal of non-video content, such as channel banner images, your request must include
              this required info.


      To request a copyright infringement notification for a video, you must include the required info listed
      below. Without this info, we can’t proceed with your request.

      You can submit the info below in the body of an email (not in an attachment) to
      copyright@youtube.com          or via fax or postal mail.


      1. Your contact info
      YouTube and the uploader of the content you’re requesting to remove may need to get in touch with
      you about your request. In your request, include one or more of the following:

      • Your email address
      • Your physical address
      • Your telephone number


      2. Description of your copyrighted work
      In your request, make sure you clearly and completely describe your copyrighted content that you're
      trying to protect.

      If you believe more than one of your copyrighted works have been infringed, the law allows a
      representative list of such works to be included in your request.


      3. Specific URLs of the videos in question
      Your request must include specific links to the video or videos you believe infringes on your copyright.


         Include the URL or URLs of the exact video or videos in the following format:


                                          www.youtube.com/watch?v=xxxxxxxxxxx


      General info such as a channel name or channel URL is not adequate.


      4. Agree to and include the following two statements:
      “I have a good faith belief that the use of the material in the manner complained of is not authorized
      by the copyright owner, its agent, or the law.”

      "The information in this notification is accurate, and under penalty of perjury, I am the owner, or an
      agent authorized to act on behalf of the owner, of an exclusive right that is allegedly infringed.”


      5. Your signature
      Complete removal requests need the physical or electronic signature of the copyright owner or an
      agent authorized to act on their behalf.

      To meet this requirement, the copyright owner or authorized agent may enter their full legal name as
      their signature at the bottom of the request. A full legal name should be a first and last name, not a
      company name.
https://support.google.com/youtube/answer/6005900?hl=en&ref_topic=9282363                                                1/2
2/8/23, 10:54 PM       Case 3:20-cv-04423-JD    Document
                                        Requirements            248-19
                                                     for copyright            Filed
                                                                   infringement        02/13/23
                                                                                notifications:          Page 3Help
                                                                                               Videos - YouTube of 3
         Include the info above in the body of an email (not in an attachment) to copyright@youtube.com. You can also
         submit your request via fax or postal mail.




                                                       Need more help?
                                                       Try these next steps:



          Ask the Help Community
          Get answers from community experts




https://support.google.com/youtube/answer/6005900?hl=en&ref_topic=9282363                                               2/2
